                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew 's Plaza
                                                     New York, New York 10007




                                                     February 22, 2023

- -EX PAR.TE 4 ND UNDER SEAt-

  Honorable Lewis A. Kaplan
  United States District Judge
  Daniel Patrick Moynihan
  United States Courthouse
  500 Pearl Street
  New York, NY 10007-1312

         Re:     United States v. Samuel Bankman-Fried, S3 22 Cr. 673 (LAK)

  Dear Judge Kaplan:

          On February 22, 2023, a grand jury returned a twelve-count superseding indictment (the
  "S3 Indictment") charging Samuel Bank.man-Fried with conspiracy to commit wire fraud , wire
  fraud, conspiracy to commit commodities fraud, commodities fraud , conspiracy to commit
  securities fraud, securities fraud, conspiracy to commit bank fraud, conspiracy to commit
  unlicensed money transmission, conspiracy to commit money laundering, and conspiracy to
  commit campaign finance violations and defraud the Federal Election Commission. A copy of the
  S3 Indictment is enclosed.

          As the Court knows, the defendant was previously extradited from The Bahamas on an
  Indictment returned on December 9, 2022. The S3 Indictment has been sealed so as to permit time
  for the Government to make the appropriate diplomatic notifications about the new charges. Those
  notifications will be made this evening. Accordingly, the Government respectfully requests that
  the Court order the S3 Indictment unsealed as of 9:00 a.m. on February 23, 2023 .
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             For the reasons set forth in this letter, the Government also respectfully requests that this
    letter be maintained under seal until the unsealing of the S3 Indictment.


                                                   Respectfully submitted,

                                                   DAMIAN WILLIAMS
                                                   United States Attorney

                                               by: /s/ Nicolas Roos
                                                  Nicolas Roos
                                                   Danielle R. Sassoon
                                                   Samuel Raymond
                                                   Thane Rehn
                                                   Andrew Rohrbach
                                                   Danielle Kudla
                                                  Assistant United States Attorneys
                                                   (212) 637-2421



    SO ORDERED:




    THE HONORABLE LEWIS A. KAPLAN
    UNITED STATES DISTRICT JUDGE
